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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

ROXANNE KING and STACEY GRADY *

 

Individually and as Next *
Friend Of MICHELLE A. *
ALYSA A. and CHRISTIAN*
G. , *
*
Plaintiffs, *
VS. * CIVIL ACTION NUMBER:
* 2:17-CV-00112-RSB-BWC
PARKER MARCY, DAVID HASSLER, *
HERSHELL GARRETT WRIGHT, D.J. *
WALKER, DAVID HANEY, ROBERT *
COREY SASSER, RONNIE COOPER, *
BUTLER, JEREMY STAGNER, *
TIMOTHY HOLLINGSWORTH, *
CAMERON ARNOLD, RICHARD LESKA,*
CLAYTON PALMER, CHRIS LOWTHER,*
AND RESDEN TALBERT, *
~k
Defendants. *
AMENDED CQMPLAINT
DI ION
1. Jurisdiction in this case is invoked pursuant to the
provisions of 28 U.S.C. § 1343(3). This is an action at law to

secure the protection of and the redress of the deprivation of

rights secured to the Plaintiffs by the Fourth, Fifth, Sixth and

Fourteenth Amendments to the Constitution of the United States, and
by 42 U.S.C. § 1983. The Court's supplemental jurisdiction is
invoked for claims arising under Georgia law.

RARIIE§
2. The Plaintiff, ROXANNE KING and STACEY GRADY, are

citizens of the United States and residents of the Southern

District of Georgia, which is within the jurisdiction of this

COUrt.

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3. The Defendant, PARKER. MARCY is a resident of Glynn
County, Georgia and is subject to the jurisdiction of this Court.

4. The Defendants DAVID HASSLER, HERSHELL GARRETT WRIGHT,
D.J. WALKER, DAVID HANEY, ROBERT COREY SASSER, RONNIE COOPER,
BUTLER, JEREMY STAGNER, TIMOTH¥ HOLLINGSWORTH, CAMERON ARNOLD,
RICHARD LESKA, CLAYTON PALMER, CHRIS LOWTHER, and RESDEN TALBERT
were Glynn County Police Officers acting under color of State law
at the time of the incident which gave rise to this action.

5. On December 15, 2015, PARKER MARCY, accompanied by
several male Glynn County Police Officers, as well as at least one
female Glynn County Police Officer, came to the Plaintiff Roxanne
King’s residence at 237 Cornwall Street, Brunswick, Glynn County,
Georgia.

6. At the aforesaid time and place, the door to the
residence was busted down, and the Defendants entered the said
residence brandishing firearms and making threats of death or
serious bodily injury.

7. At the aforesaid time and place, A***** Alexander was
then 7 years of age and C******** Grady was then 3 years of age,
and were being bathed by Roxanne King.

8. The Plaintiff Roxanne King shows that she was hand-cuffed
and held under arrest for a lengthy period of time, and the two
minor children referred to in Paragraph 7 were removed from the
residence naked and placed in a police vehicle.

9. The Plaintiff Roxanne King sustained injuries from the
aforesaid conduct of the Defendant, and she has suffered physical

and mental suffering due to the injuries inflicted upon her.

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10. The wrongful assault and battery committed upon the
Plaintiff, together with the injury, inflicted upon the Plaintiff
by the Defendant, was done under color of law and authority, and
said wrongful acts were done intentionally, negligently, and with
a complete and deliberate indifference to the Plaintiff's rights,
and all of said wrongful conduct has caused the Plaintiff to be
deprived of her constitutional rights, including but not limited to
the Fourth and Fourteenth Amendments to the United States
Constitution, as well as being a violation of the Plaintiff's
Georgia Constitutional rights and also constitute assault, battery,
and willful infliction of extreme emotional distress.

10. The Defendants are liable to the Plaintiff Roxanne King
for actual and punitive damages as result of the foregoing acts of
misconduct.

ll. Parker Marcy, David Hassler, Garrett Wright, D. J.
Walker, David Haney, Corey Sasser, Ronnie Cooper, Officer Butler,
Jeremy Stagner, Timothy Hollingsworth, Cameron Arnold, Officer
Richard Leska, Officer Clayton Palmer, Chris Lowther, and
Investigator Resden Talbert were Glynn County' police officers
acting under color of state law. Who participated in the incident
described in paragraphs 5 through 9 hereinabove.

WHEREFORE, the Plaintiffs pray for the following:

A. That the Plaintiffs be granted a trial by jury as to all
contested issues of fact;

B. That the Plaintiffs recover actual damages of not less
than $250,000.00 and punitive damages of not less than $250,000.00

from each of the Defendants; and

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C. That the Plaintiffs recover reasonable attorney's fees
and other costs of litigation together with such other relief as to
which the Plaintiffs may be entitled.

This the 26th day of February, 2019.

w. Dguglas Adam§
Georgia Bar Number: 004650

Attorney for Plaintiffs

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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

ROXANNE KING and STACEY GRADY *
Individually and as Next *
Friend of MICHELLE A. *
ALYSA A. and CHRISTIAN*
G. ,

Plaintiffs,
CIVIL ACTION NUMBER:
2:17-CV-00112-LGW-RSB

VS.

PARKER MARCY, DAVID HASSLER,
HERSHELL GARRETT WRIGHT, D.J.
WALKER, DAVID HANEY, ROBERT
COREY SASSER, RONNIE COOPER,
BUTLER, JEREMY STAGNER,
TIMOTHY HOLLINGSWORTH,
CAMERON ARNOLD, RICHARD LESKA,*
CLAYTON PALMER, CHRIS LOWTHER,*
AND RESDEN TALBERT, *

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This is to certify that I have this day served all

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parties in this case in accordance with the directives
from the Court Notice of Electronic Filing ("NEF"), which
was generated as a result of electronic filing.

Submitted this the 26th day of February, 2019.

l
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